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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 ALAN HOROWITCH,

                              Plaintiff,

 -vs-                                                        Case No. 6:06-cv-1703-Orl-19KRS

 DIAMOND AIRCRAFT INDUSTRIES, INC.,

                         Defendant.
 ______________________________________

                                            ORDER

        This case comes before the Court on the following:

        1.     Motion for Attorneys’ Fees and Costs by Defendant Diamond Aircraft Industries,

               Inc. (Doc. No. 196, filed Jan. 5, 2010);

        2.     Response in Opposition to Defendant Diamond Aircraft Industries, Inc.’s Motion for

               Attorneys’ Fees and Costs by Plaintiff Alan Horowitch (Doc. No. 199, filed Jan. 19,

               2010);

        3.     Reply to Response to Motion for Attorneys’ Fees and Costs by Defendant Diamond

               Aircraft Industries, Inc. (Doc. No. 202, filed Feb. 5, 2010);

        4.     Motion for Judicial Review of Clerk’s Taxing of Costs by Plaintiff Alan Horowitch

               (Doc. No. 207, filed Feb. 16, 2010);

        5.     Response in Opposition to Plaintiff Alan Horowitch’s Motion for Judicial Review

               of Clerk’s Taxing of Costs by Defendant Diamond Aircraft Industries, Inc. (Doc. No.

               208, filed Mar. 2, 2010);

        6.     Report and Recommendation on Motion for Attorneys’ Fees and Costs (Doc. No.
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                210, filed Apr. 8, 2010);

        7.      Report and Recommendation on Motion for Judicial Review of Clerk’s Taxing of

                Costs (Doc. No. 211, filed Apr. 12, 2010);

        8.      Objection to Report and Recommendation on Motion for Attorneys’ Fees and Costs

                by Plaintiff Alan Horowitch (Doc. No. 212, filed Apr. 22, 2010);

        9.      Objection to Report and Recommendation on Motion for Attorneys’ Fees and Costs

                by Defendant Diamond Aircraft Industries, Inc. (Doc. No. 213, filed Apr. 22, 2010);

        10.     Objection to Report and Recommendation on Motion for Judicial Review of Clerk’s

                Taxing of Costs by Defendant Diamond Aircraft Industries, Inc. (Doc. No. 214, filed

                Apr. 26, 2010); and

        11.     Response to Plaintiff Alan Horowitch’s Objection to Report and Recommendation

                on Motion for Attorneys’ Fees and Costs by Defendant Diamond Aircraft Industries,

                Inc. (Doc. No. 215, filed May 6, 2010).

                                            Background

        Plaintiff Alan Horowitch filed suit against Defendant Diamond Aircraft Industries, Inc.

 (“Diamond”), alleging that he entered into a contract to purchase a “D-Jet” aircraft from Diamond

 for $850,000.00 and that Diamond refused to sell the aircraft unless Horowitch paid $1,380,000.00.

 (Doc. No. 58, filed May 25, 2007.) Horowitch asserted four claims against Diamond: (1) specific

 performance; (2) in the alternative, breach of contract; (3) breach of the implied covenants of good

 faith and fair dealing; and (4) deceptive trade practices in violation of the Florida Deceptive and

 Unfair Trade Practices Act (“FDUTPA”). (Id.)

        On May 8, 2007, Diamond served an offer of judgment on Horowitch, offering to pay


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 Horowitch $40,000.00 “to resolve all claims that were or could have been asserted by Plaintiff

 against Diamond Aircraft in the Amended Complaint” and conditioning the offer on the dismissal

 of the pending claims with prejudice (“Offer of Judgment”). (Doc. Nos. 196-1, 199-1.) Horowitch

 did not accept the Offer of Judgment.

        Thereafter, the parties filed motions for summary judgment. (Doc. Nos. 91, 93, filed July

 5, 2007.) The Court denied Horowitch’s motion for summary judgment, granted Diamond’s motion

 for summary judgment on Counts I, II, and III, and denied Diamond’s motion for summary judgment

 on Count IV. (Doc. Nos. 108, 138, 142.) The Court found based on a choice-of-law analysis that

 Arizona law and the Arizona Consumer Fraud Act (“ACFA”), not the FDUTPA, applied to

 Horowitch’s consumer fraud claim in Count IV. (Doc. No. 108 at 16-21.) On December 8 and 9,

 2009, the Court held a bench trial on Horowitch’s consumer fraud claim in Count IV. The Court

 ruled that Diamond did not violate the ACFA. (Id. at 28.) Judgment was entered in favor of

 Diamond. (Doc. No. 193.)

        On January 5, 2010, Diamond filed a Motion for Attorney’s Fees and Costs. (Doc. No. 196.)

 Horowitch filed a response in opposition, and Diamond filed a reply to Horowitch’s response with

 leave of Court. (Doc. Nos. 199, 202.) On April 8, 2010, Magistrate Judge Karla R. Spaulding

 entered a Report and Recommendation that the Court deny the Motion. (Doc. No. 210.) Horowitch

 and Diamond filed objections to the Report and Recommendation, and Diamond filed a response

 to Horowitch’s objection. (Doc. Nos. 212-13, 215.)

        On February 5, 2010, Diamond filed a Bill of Costs, which was taxed by the Clerk of Court.

 (Doc. Nos. 203-04.) Horowitch filed a motion for judicial review of the Clerk’s taxing of costs, to

 which Diamond timely responded. (Doc. Nos. 207-08.) On April 8, 2010, Magistrate Judge Karla


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 R. Spaulding entered a Report and Recommendation that the Court vacate the Bill of Costs taxed

 by the Clerk and award Diamond taxable costs in the amount of $7,781.01. (Doc. No. 210.)

 Diamond timely filed an objection to the Report and Recommendation. (Doc. No. 214.)

                                          Standard of Review

 I. Motion for Attorneys’ Fees

         Under the American Rule, which is the controlling rule in Florida and Federal courts, a

 prevailing party is ordinarily not entitled to recover attorneys’ fees except by contract or statute. See

 Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 257 (1975); Price v. Tyler, 890 So.

 2d 246, 250 (Fla. 2004).

 II. Motion for Judicial Review of Clerk’s Taxing of Costs

         Federal Rule of Civil Procedure 54(d)(1) provides that “[u]nless a federal statute, these rules,

 or a court order provides otherwise, costs – other than attorney’s fees – should be allowed to the

 prevailing party.” “Under Rule 54(d), there is a strong presumption that the prevailing party will

 be awarded costs.” Mathews v. Crosby, 480 F.3d 1265, 1276 (11th Cir. 2007) (internal citations

 omitted). Pursuant to 28 U.S.C. § 1920, a court may award the following costs:

         (1) Fees of the clerk and marshal;

         (2) Fees for printed or electronically recorded transcripts necessarily obtained for use
         in the case;

         (3) Fees and disbursements for printing and witnesses;

         (4) Fees for exemplification and costs of making copies of any materials where the
         copies are necessarily obtained for use in the case;

         (5) Docket fees under 28 U.S.C. § 1923;

         (6) Compensation of court appointed experts, interpreters, and special interpretation
         services.

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        A court cannot award costs other than those listed in § 1920 unless authorized by another

 statute. United States EEOC v. W&O, Inc., 213 F.3d 600, 620 (11th Cir. 2000) (citing Crawford

 Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 445 (1987)). In addition, a court can only award

 costs that are “adequately described and documented.” Scelta v. Delicatessen Support Servs., Inc.,

 203 F. Supp. 2d 1328, 1340 (M.D. Fla. 2002).

 III. Objection to a Report and Recommendation of a United States Magistrate Judge

        A party seeking to challenge the findings in a Report and Recommendation of a United

 States Magistrate Judge must file “written objections which shall specifically identify the portions

 of the proposed findings and recommendation to which objection is made and the specific basis for

 objection.” Macort v. Prem, Inc., 208 F. App’x 781, 783 (11th Cir. 2006) (quoting Heath v. Jones,

 863 F.2d 815, 822 (11th Cir. 1989)). If a party makes a proper objection, the District Court must

 conduct a de novo review of the portions of the report to which objection is made. Macort, 208 F.

 App’x at 783-84; see also 28 U.S.C. § 636(b)(1) (2010). The District Court may accept, reject, or

 modify in whole or in part, the findings or recommendations made by the Magistrate Judge. Macort,

 208 F. App’x at 784; 28 U.S.C. § 636(b)(1).

                                               Analysis

 I. Motion for Attorneys’ Fees

        Diamond objects to the Magistrate’s finding that Diamond is not entitled to attorneys’ fees

 under the Florida offer of judgment statute, Section 768.79, Florida Statutes, or the FDUTPA. (Doc.

 No. 213.)

        A. Florida Offer of Judgment Statute

        Diamond argues that the Magistrate’s erroneously relied on Palm Beach Polo Holdings, Inc.

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 v. Equestrian Club Estates Prop. Owners Ass’n, Inc., 22 So. 3d 140 (Fla. 4th DCA 2009), to find

 that Diamond is not entitled to attorneys’ fees under Section 768.79. (Doc. No. 213 at 2-6.)

 Diamond maintains that the instant case is distinguishable from Palm Beach Polo Holdings, Inc.

 because Horowitch asserted his claim for injunctive relief in the alternative to a claim for monetary

 damages and because the Offer of Judgment unambiguously proposed a settlement of all pending

 claims against Diamond. (Id.)

        It is well-settled that Section 768.79 applies only to civil actions “for damages.”1 § 768.79,

 Fla. Stat.; Palm Beach Polo Holdings, Inc., 22 So. 3d at 143; Nichols v. State Farm Mut., 851 So.

 2d 742, 752 (Fla. 5th DCA 2003). Where, as here, “an action seeks non-monetary relief, such as a

 pure declaration of rights or injunctive relief, then the fact that it also seeks damages does not bring

 it within the offer of judgment statute.” Palm Beach Polo Holdings, Inc., 22 So. 3d at 144 (emphasis

 in original). Because Horowitch asserted a claim for specific performance and breach of contract

 in the alternative, in addition to claims for breach of implied covenants and consumer fraud, he

 sought both non-monetary relief and damages which rendered Section 768.79 inapplicable.2 (Doc.

 No. 58 at 7-9.) Accordingly, even if, as Diamond asserts, the Offer of Judgment proposed a



        1
          The parties do not dispute that Section 768.79, Florida Statutes, applies to claims under
 Florida law asserted in federal court. Menchise v. Akerman Senterfitt, 532 F.3d 1146, 1151-52
 (11th Cir. 2008).
        2
          Diamond cites Stewart v. Tasnet, Inc., 718 So. 2d 820 (Fla. 2d DCA 1998), and
 Burtman v. Porchester Holdings, Inc., 680 So. 2d 631 (Fla. 4th DCA 1996), for the proposition
 that the mere presence of an equitable claim in what is otherwise a civil action for damages does
 not preclude the application of Section 768.79. (Doc. No. 213 at 5.) These cases stand for the
 proposition that Section 768.79 may apply in cases involving equitable claims for money.
 Stewart, 718 So. 2d at 821-22; Burtman, 680 So. 2d at 632. Horowitch asserted an equitable
 claim for the purchase of an aircraft from Diamond at a specific price, not a claim for money.
 (Doc. No. 58 at 7-8.) Therefore, Stewart and Burtman are inapposite to this case.

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 settlement of all pending claims against Diamond, Diamond would not be entitled to an award of

 attorneys’ fees under Section 768.79.3

        B. FDUTPA

        The Magistrate recommended that the Court award Diamond no attorneys fees under the

 FDUTPA because the Court previously found that the ACFA, not the FDUTPA, applied to

 Horowitch’s consumer fraud claim and because the ACFA only permits the state attorney general

 to recover attorneys’ fees. (Doc. No. 210 at 8-9.) Diamond cites several cases4 for the proposition

 that it should be awarded attorneys’ fees under the FDUTPA even though the Court found that the

 FDUTPA did not apply to Horowitch’s consumer fraud claim. (Doc. No. 213 at 7-9.) The cases

 cited by Diamond do not support an award of attorneys fees because they apply Florida law to find

 that the plaintiff could not recover under the FDUTPA, whereas this Court found that as a matter

 of Florida choice of law principles, Florida law and the FDUTPA did not govern Horowitch’s

 consumer fraud claim. (Doc. No. 108 at 16-21.) To award Diamond attorneys’ fees merely because

 Horowitch pled a claim under the FDUTPA would render meaningless the requirement that this

 Court apply Florida choice of law principles. See Grupo Televisa, S.A. v. Telemundo Commc’ns

 Group, Inc., 485 F.3d 1233, 1240 (11th Cir. 2007) (“A federal court sitting in diversity will apply

 the conflict-of-laws rules of the forum state.” (citing Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S.


        3
          Finding that Diamond is not entitled to attorneys’ fees under Section 768.79, the Court
 need not consider Horowitch’s argument that Diamond should not be awarded attorneys’ fees
 because the Offer of Judgment failed to comply with Florida Rule of Civil Procedure 1.442.
 (Doc. No. 212.)
        4
           M.G.B. Homes, Inc. v. Ameron Homes, Inc., 30 F.3d 113, 115 (11th Cir. 1994); Mandel
 v. Decorator’s Mart, Inc. of Deerfield Beach, 965 So. 2d 311, 314-16 (Fla. 4th DCA 2007);
 Brown v. Gardens by the Sea S. Condo. Ass’n, 424 So. 2d 181, 184 (Fla. 4th DCA 1983); Rustic
 Vill., Inc. v. Friedman, 417 So. 2d 305, 306 (Fla. 3d DCA 1982).

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 487, 496 (1941))).    The ACFA does not entitle a prevailing party, other than the attorney general,

 to an award of attorneys’ fees. A.R.S. §§ 44-1534; Sellinger v. Freeway Mobile Home Sales, Inc.,

 521 P.2d 1119, 1123 (Ariz. 1974). Accordingly, Diamond is not entitled to attorneys’ fees for

 prevailing on Horowitch’s consumer fraud claim governed by the ACFA.

 II. Motion for Judicial Review of Clerk’s Taxing of Costs

        Diamond objects to the Magistrate’s finding that Diamond should not be awarded

 “reasonable costs” beyond the costs recoverable under 28 U.S.C. § 1920 as authorized by Section

 768.79 and the FDUTPA. (Doc. No. 214 at 2-4.) Having found that Section 768.79 and the

 FDUTPA do not apply to this case, Diamond should not be awarded costs under those statutes.

        Diamond also objects to the Magistrate’s finding that Diamond should not recover $5,494.06

 in photocopying costs because Diamond failed to provide sufficient documentation of those

 expenses. (Doc. No. 214 at 4-6.) “A prevailing party may recover photocopy costs for copies that

 the ‘party could have reasonably believed’ were necessary to the litigation.” George v. GTE

 Directories Corp., 114 F. Supp. 2d 1281, 1299 (M.D. Fla. 2000) (quoting EEOC v. W&O, Inc., 213

 F.3d 600, 623 (11th Cir. 2000)).      “Copies attributable to discovery, copies of pleadings,

 correspondence, documents tendered to the opposing party, copies of exhibits, and documents

 prepared for the Court’s consideration are recoverable.”        Desisto Coll., Inc. v. Town of

 Howey-In-The-Hills, 718 F. Supp. 906, 913 (M.D. Fla. 1989). Copies obtained for the convenience

 of counsel, including extra copies of filed papers, correspondence, and copies of cases, are not

 taxable. Id.

        “To recover for photocopy expenses, a prevailing party must produce adequate

 documentation to show that the copies at issue were reasonably intended for use in the case.”


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 George, 114 F. Supp. 2d at 1299. “Simply making unsubstantiated claims that such documents were

 necessary is insufficient to permit recovery.” Corsair Asset Mgmt., Inc. v. Moskovitz, 142 F.R.D.

 347, 352 (N.D. Ga. 1992); see also Scelta, 203 F. Supp. 2d at 1340-41 (“[S]ince the defendants have

 not described the photocopying costs sufficiently to permit a determination of which photocopies

 were necessarily obtained for use in this case, reimbursement for photocopying costs is rejected in

 its entirety.”).

         In support of its proposed Bill of Costs, Diamond filed a spreadsheet listing the date of each

 photocopying expense, the number of copies made, and the amount billed for the copies. (Doc. No.

 203-1, filed Feb. 5, 2010.) Although Diamond correctly notes that “an accounting for each

 photocopy is implausible,” Scelta, 203 F. Supp. 2d at 1340, Diamond has not described or

 categorized its photocopying expenses such that the Court may differentiate between recoverable

 and nonrecoverable photocopying costs. Because the Court has no basis upon which to conclude

 what portion, if any, of the $5,494.06 sought for photocopying expenses is recoverable under §

 1920, reimbursement for photocopying costs should be denied in its entirety.5 Scelta, 203 F. Supp.

 2d at 1340-41.

         Finding no objections to the Magistrate’s remaining findings to reduce the costs awarded to

 Diamond, Diamond should be awarded taxable costs of $7,781.01 as calculated in the Magistrate’s

 Report and Recommendation. (Doc. No. 211 at 9.)


         5
           In the alternative, Diamond argues that it should be awarded the claimed photocopying
 expenses less a twenty percent discount to alleviate any concerns that the copies were
 unnecessary or duplicative. This approach was applied in Diaz v. Jaguar Rest. Group, LLC, No.
 08-22317-CIV, 2010 WL 431786, *2 (S.D. Fla. Jan. 31, 2010). However, unlike in Diaz, this
 Court cannot conclude from the evidence in the record that no copies were made merely for the
 pretrial convenience of counsel. Id. Accordingly, the Court will not award the requested
 copying costs less a twenty percent discount.

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                                          Conclusion

        Based on the foregoing, it is ORDERED and ADJUDGED that:

        1.    The Objections to the Report and Recommendation on Motion for Attorney’s Fees

              and Costs by Plaintiff Alan Horowitch (Doc. No. 212) and Defendant Diamond

              Aircraft Industries, Inc. (Doc. No. 213) are OVERRULED, and the Report and

              Recommendation of the United States Magistrate Judge (Doc. No. 210) is

              ADOPTED and AFFIRMED.

        2.    The Motion for Attorneys’ Fees and Costs by Defendant Diamond Aircraft

              Industries, Inc. (Doc. No. 196) is DENIED.

        3.    The Objection to the Report and Recommendation on Motion for Judicial Review

              of Clerk’s Taxing of Costs by Defendant Diamond Aircraft Industries, Inc. (Doc. No.

              214) is OVERRULED, and the Report and Recommendation of the United States

              Magistrate Judge (Doc. No. 211) is ADOPTED and AFFIRMED.

        4.    The Motion for Judicial Review of Clerk’s Taxing of Costs by Plaintiff Alan

              Horowitch (Doc. No. 207) is GRANTED.

        5.    The Bill of Costs taxed by the Clerk of Court (Doc. No. 204) is VACATED. The

              Clerk of Court is directed to enter an Amended Bill of Costs awarding Diamond

              Aircraft Industries, Inc. taxable costs in the total amount of $7,781.01.

        DONE and ORDERED in Orlando, Florida on May 26, 2010.




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  Copies furnished to:

  Counsel of Record




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